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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          No. 2:07-cr-0088 KJM DAD P
12                      Respondent,
13          v.                                          ORDER
14   RICARDO DIAZ-VALENCIA,
15                      Movant.
16

17          Movant, a federal prisoner proceeding through counsel, has filed a motion to vacate, set

18   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the

19   requested relief if he can establish a violation of his constitutional rights, respondent will be

20   directed to respond to the motion. See Rule 4, Rules Governing Section 2255 Proceedings.

21          Accordingly, IT IS HEREBY ORDERED that:

22          1. Respondent shall file and serve a response to movant’s § 2255 motion within sixty

23   days after this order is served. See Rules 4 and 5, Rules Governing Section 2255 Proceedings;

24          2. If respondent files and serves an opposition to the § 2255 motion, movant’s reply to the

25   opposition shall be filed and served within thirty days after the opposition is served;

26          3. If respondent files and serves a procedural motion, movant’s opposition shall be filed

27   and served within thirty days after the countermotion is served, and respondent’s reply shall be

28   filed and served within thirty days after the opposition is served; and
                                                        1
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 1           4. The Clerk of the Court shall serve a copy of this order, together with a copy of the §

 2   2255 motion filed by movant, on the United States Attorney or his authorized representative.

 3   Dated: February 19, 2014

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